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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE


JANE DOE 1, et al.,                          )
                                             )
       Plaintiffs,                           )
                                             )
                      v.                     ) 1:21-cv-00242-JDL
                                             )
JANET T. MILLS, in Her Official              )
Capacity as Governor of the                  )
State of Maine, et al.,                      )
                                             )
       Defendants.                           )

     ORDER ON PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING
                             ORDER

       On Wednesday, August 25, 2021, the Plaintiffs, who are healthcare workers

and one individual healthcare provider, 1 filed a five-count Complaint against Janet

T. Mills, the Governor of the State of Maine; Dr. Nirav D. Shah, the Director of the

Maine Center for Disease Control and Prevention; Jeanne M. Lambrew, the

Commissioner of the Maine Department of Health and Human Services; and five

private entities that operate healthcare facilities in Maine (ECF No. 1).                     The

Plaintiffs’ Complaint challenges recent changes to Maine law which, they contend,

have the effect of requiring all employees of Maine healthcare facilities to be

vaccinated against the COVID-19 coronavirus by October 1, 2021 (the “Vaccine

Mandate”).     This, the Plaintiffs argue, violates their federal constitutional and



 1 Specifically, the Plaintiffs are: Jane Does 1-5, who are healthcare workers employed by the
Defendant healthcare facilities; John Doe 1, who is a licensed healthcare provider who operates his
own practice; Jane Doe 6, who is a healthcare worker employed by John Doe 1; John Does 2-3, who are
healthcare workers employed by the Defendant healthcare facilities; and a number of other yet-
unnamed Jack and Joan Does who are healthcare workers employed by the Defendant healthcare
facilities.
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statutory rights because it does not include an exemption based on their sincerely

held religious beliefs that cause them to object to being vaccinated for the COVID-19

coronavirus.     They also contend that their employers—Defendants Genesis

Healthcare of Maine, LLC; Genesis Healthcare, LLC; Northern Light Health

Foundation; MaineHealth; and MaineGeneral Health—have violated federal law by

refusing to grant them a religious exemption from the vaccination requirement.

      Along with their Complaint, the Plaintiffs have filed an ex parte Motion for

Temporary Restraining Order and Preliminary Injunction, requesting that the Court

enjoin the Defendants from enforcing the Vaccine Mandate (ECF No. 3). On the

morning of Thursday, August 26, 2021, I convened a hearing with the Plaintiffs’

counsel to address their request for an ex parte temporary restraining order.

      The criteria for the granting of a temporary restraining order (TRO) without

first proving notice to the defendants against whom the TRO is sought are set forth

in Rule 65(b)(1) of the Federal Rules of Civil Procedure:

             (1) Issuing Without Notice. The court may issue a temporary
      restraining order without written or oral notice to the adverse party or
      its attorney only if:

               (A) specific facts in an affidavit or a verified complaint clearly
               show that immediate and irreparable injury, loss, or damage will
               result to the movant before the adverse party can be heard in
               opposition; and

               (B) the movant’s attorney certifies in writing any efforts made to
               give notice and the reasons why it should not be required.

      Here, the Plaintiffs have failed to satisfy both requirements. As to the first

requirement, no facts have been shown by affidavit or verified complaint

demonstrating that specific, irreparable harm will ensue in the brief time-period

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required for the Defendants to be afforded an opportunity to be heard in opposition

to the motion.

      As to the second requirement, Plaintiffs point to a demand letter that their

counsel sent to Governor Mills, Dr. Shah, and Commissioner Lambrew on August 18,

2021, before this case was brought. The letter states that the Plaintiffs intended to

“seek emergency injunctive relief and all other remedies available under law” if their

demands were not met. ECF No. 1-5 at 10. But this letter preceded the filing of this

action. It did not and could not notify the Defendants that the Plaintiffs were acting

on their earlier demand by filing this action and moving the Court to issue a

temporary restraining order. Further, the Plaintiffs have not shown why notifying

the Defendants of the motion for a temporary restraining order should not be

required.

      Accordingly, the Plaintiffs’ motion (ECF No. 3) is DENIED IN PART as to the

request for a temporary restraining order. The Clerk is directed to schedule a case

management conference regarding the Plaintiffs’ request for a preliminary injunction

on August 31, 2021, at 2:00 p.m., to be conducted by videoconference.

      SO ORDERED.

      Dated this 26th day of August, 2021.


                                                      /s/ JON D. LEVY
                                                CHIEF U.S. DISTRICT JUDGE




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